Case 1:19-cv-00403-AJT=IDD Document 1-1 Filed 04/05/19-- Page 1 of 12 PagelD# 5
| EXHIBIT

Co : | iA

‘ : 2 ¥

 

VIRGINIA: _
HN THE CIRCUIT COURT FOR: ALEXANDRIA CITY
Victoria Grady is
8018 Boulevard Drive, ad
Alexandria, VA 22308 * cs =
ee . * Be: “8 Ss =e
Plaintiff, oe “wa SES Te
we = e -, ¢ ayes
. ! You? ieee tL
v. * no. & cy ke ot et.
‘ TA OS © hese
Target Stores, lac. ic i) 28 ty MEL
-Wb/a Target Corporation . gs poy
6600 Richmond Highway . ay ns [i
Alexandria, VA 22306 : : \ 8
Serve: £
CT Corporation System *
. 4701 Cox Road is
Suite 285 . “.
Glen Allen, VA 23060 +
we
Defendant. . *
FORELEEAEEHNE ETON EERO ERE SHEE ERAEE EDEN ESTP ERNE ORES EHA STENT ER EEE EE EEE KOE
COMPLAINT

COMES NOW the Plaintiff, Victoria Grady, by and through Curtis Daniel Cannon,
Esquire and the Law Office of Goldberg & Finnegan, LLC, and sues the Defendant, Target
‘Stores, Inc.'d/b/a Target Corporation (Target® hereafter) and as grounds therefore states:

| SDI

tl: This Court has jurisdiction over this matter ai it arigés 0m an incident that
occurred on or about November 19, 2016 at the Target store located at 6600 Richmond Highway,
Alexandria, VA. .

2 -Atail times relevant hereto, the Plaintiff, Victdtld Giady, was avesident of the
Commonwealth of Virginia. |

3. Atall times relevant hereto, Defendant Target, owned, operated, maintained,
managed, rented, leased, serviced and/or otherwise controlled the Premises located 6600

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‘Richmond Highway, Alexandria; VA doing business os Target. Defetidait Target i a soisiga
‘corporation.
— COUNT I,
oa (Negtigence)
4. The Plaintiff refers to and incompotates thé précédiag paragraphis as if‘fully stated’
herein, | |

5. (Oi oF Sbeiat Noverater 19, 201 6 Pikintilt was:an invitee on the Weiss locéia}

Kernememmavein amen

at 6600 Richmond Hiphway, Alekifatla, VA dotig USRHE5S as Target (*jremiseat hereafter)

owned, operated, maintained, managed, rented, leased, serviced and/or otherwise controlled-by
Deféridant Target.

6; At all times iGlevant heréto, ‘Defendant Target owed lan obligation iid duit 16 ths
‘Plaintiff-to make sure the pierhises Wii in d NéSSOnEblY sie condition fiee-of defects and.
datigerous conditions:of which they knew-or should havé known 8 Sa did/or to:warn the.
Plaintiff of said defects-and/or dangerous‘conditions of which they kieW dr &hotild Rave-known

7: Notwithistarding that obligation and dity. Defendant Target, through their gents!
employees, and/or servants, breached its duties tb Plaintiff by negtigeritly causing, allowing to:
feinain, failing to remedy, ;and/or failing to.wam the Plaintiff of, a datigezia and defective
condition ‘on the premises, 6f which the Defendants had actual and/or constructive kasnleag,
consisting of slippery olive oil oni the flodr which accumulated in an aisle in which the Plaintiff |
was walking, Defendant Target through its agents, eniployeés asid/or servants was negligent for

- ‘failing to deer the standard of care in responding to a knows hazardous conitioti on the flor in

ithat- Defendant Target fuiled t Else the disle thereby allowing other patrons to track the spilléd
Olive oil throygh the aisle and causing Plaintiff to fall.
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Case 1:

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19-cv-00403-AJT-IDD’ Document 1-1 Filed 04/05/19-. Page 3 of 12 PagelD# 7

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a:

8, ‘As a direct and proximate result of T Target’ 5 negligence, Plaintiff Grady wa was

eal vn yo wll

“caused to slip ar and fall on on the dangerous and slippery olive oil on the floor thereby sustaining
. s —

 

Dye Oe
severe and permanent persoiial injittiés, itichiding scarting and disfigurement, for which she has

received and will continue to receive medical caré, has iicurred and will continue to incur

medical expenses and loss of income, has incurred and will CGntifte 16 hitir Sther economic. and

non-economic damages. | —
9. THE PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUERS

" PRESENTED HEREIN.

. WHEREFORE, Plaintiff Victoria Grady demands jidgment, jointly and severally, against:
Defendants Target Corporation and Target Stores, no., in the amount of One Million
($1,000,000.00) dollars together with interest from November 19; 2016; as provided for in §8.01-

382 of the 1950 Code of Virginia; as amended) arid the costs of this proceeding,

Respectfully submitted,

Victoria Grady,
By coiinsel,

r

‘GOLDBERG & FINNEGAN, LLC

.

Curtis Daniel Cannon,’ Esq. #73711
3401 Colesville Road, #630
‘Silver Spring, Maryland 20910
(301) 589-2999 (p)

G01) 589-2644 (f

Counsel for Plaintiff
coannon@goldbér an. corm

 
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Case 1:19-cv-00403-AJ¥-IDD Document 1-1 Filed 04/05/19~. Page 4 of 12 PagelD# 8

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@ “pp

ym

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REQUEST FOR JURY-TRIAL

The Plaintiff requests a jury-trial‘on all issues presented Herein?

Respectfully submitted;

Victoria Grady,
By counsel,

GOLDBERG & EINNEGAN: LEC

.
6 4

Curtis'Daniel‘Gannon, Esq. #73721
8401 Colesville Raw, #630

Silver Spring, Maryland 20910,
(301) $89-2999:{p).

(301) 589-2644:(f)

Counsel for Plaintiff,

Senn pldbergfirinegain cos

   

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i pith
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ry oigesx gt : a
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TERR es see te ater ke?
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Case 1:19-cv-00403-AJTADD Document 1-1 Filed 04/05/19-~Page 5 of 12 PagelD# 9

‘Target Stores; Inc.

f
VIRGINIA:
EN THE CIRCUIT COURT FOR ALEXANDRIA CITY
Victoria Grady §
*
Plaintiff, e
*
¥. 7 * CASE NO::.CL18003488
‘ ised ™ —
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_*

Defendant.

REWMOS SHER TERIA AEA RTE RENO NTE REE THe ehh bh rhkitieRNrskihikiins

PLAINTIFF’S INTERROGATORIES TO DEFENDANT

TO: Target Stores, Defendant
FROM: Victoria Grady, Plaintiff
c/o Curtis D; Cannon, Esq.
INSTRUCTIONS

yp. ~-(@) Your response shiGhuld sat forth the Titerrogancry aid is Answer, and “shall answer
Sach interrogatory separately sid fullf'in Writing inder outs, or shall-state fully the grouiida fot
refusal fo answer any intérrogatory.” ‘The response shall bé sigried by you. ”

(b) Your answer shail includé all information available to you or yout ageuts,
(representatives, of attorneys. - :

i(e), These, intetroyatories are Soititiuifig ini chatter 50Y to fequite Fou i promptly
‘amend of supplement your answers if you obtain further or different infordation,

(@), Ifyou clect'to specify and Hot produse bitshiees Fecords of yours’ in answer to aiiy’
Interrogatory, then specifications shall be'in sufficient detail tp pemiit thé initerrogatirig party'to;
‘locate and to identify, ag'réddily.as can thé party served, the records from Which the'answer may

fete pe

i(e). If i | answiering these Interrogatories, You encounter any ambiguities ‘construing sithér,
8 question; instruction, of dcfinition; set forthithe matter desmed ambiguous.and'the constriction
used in dnsiverixig.
(© No Patt Gf an Intarrogatory shall be left uianswered nidtely becailSa'an objéttion is,

7 .

interposed to another pairt of thé Interrogatary.

k

(2) Where an objection is made to any Intértogatory, of any’sub-part thersol, the,
objection shall state with specificity all grounds:
Case 1:19-cv-00403-AJT1DD Document 1-1 Filed 04/05/19-~Page 6 of 12 PagelD# 10

£

__ t) Where a claim. of privilege is asserted ii objecting to any Interrogatory, ‘ot siib“part
\thereoé, ahd ani-answer ig not provided because of such asseition, you aie directed to provide a:
‘statement of the basis for the claim of privilege, incliding specific identification of any state:

privilege rule or statuté being invoked.
DEFINE TIONS
Asased én these hitoFroigatoitd, the follow Sm Ae fb intaieiba,
Bocording to these definitions:
(a) The terin “persoin” inclidés any individual, trust, estate anincorporated association
or society, parthership, faunicipal or other corporation, the State, its agencies or political”

subdivision, any court, or any other governinental entity, and inchidiniy wll predecessors and
. Skecessors in interest. . ~ ™

(b) The terms’ *you”-and “your” include ihe person(s) to-whoin these Interrogatories arc -

_ addressed, and aii that person’s agents, employecs, representatives, attomeys, family members)
and.all other Dersons or entities acting of, that person's behalf or under his/her control.

(c): The tétms ‘'and” and “or” shall be construcd conjunctively oF digjinctively 63 |

pecessary,to niake each intérrogatory inclusive rather than exclusive;

(d) The téims “include(s)" and Sinéiuding” dhall be construed to mean “without
limitation.”

....{€) The tems “document”. df “docitments” includes all writings, letters, riemorinda,
agreements, Contracts; invoices, bills, receipts, checks, drawings, graphs, charts, photographs,
‘recordings, and othet data compilations front which information can be obtuined; translated, if
necessary, isto reasonable form. ° . .

\(f), The tarms “identify”, identity”, or “identification”, when used in refererice to.a

‘natural person, require you to state that ‘person’s full name, last known address! home and.
‘business telephone numbers, presént employment, bisiness affiliation; and relation; if any, to
you. When used in reference to a:person dther than a natural pérson, the teims “identify”,
“identity”, or “identification”, require you to ‘describe the nature of sich person (that is,
whether it is 2 corporation, partnéiship, ‘etc: inider thé definition of “person? above),-and to ‘state
that persdn’s last known address, telephone nimber, and principal place of business. Once any
person bas been identified properly, it shall be Sufficient after that, when identifying that same)
person, to state the hame only, When used in‘reference to a document, the tern “identify,”
“identity”, or “identificatich;”, méans 16 set forth its title arid subject matter, date, author,:
designated and actual recipients, type of document (¢.g.;'letter, dhemorandiim), sninbér of pages?
and thé identity (a3 outlined above) of iis present or last known custodian. as
Case 1:19-cv-00403-AJT-IDD Document 1-1 Filed 04/05/19--Page 7 of 12 PagelD# 11

_ @B) As ised in these interrogatories, the terms " commiinication” of “Conimunieations™
shall be deemed to inchide any tenamiasod of documents, conversations; disoussions, meetings:
negotiations, or aniy other oral or wiitten exchange arising out of of concerning the subject tigtter-

essed, whether with representa ives or third persons. ~~ ~~

INTERROGATORIES

alt __,,Stiiti fhe fult name, dccupation; Gusitess address, and social 'seomity number of:
reach Person ‘providing information or assistincs in’ answering ‘these Interrogatories, Specifying |
the Interrogatories ti Which Gach idéntified person’ conteibuted-thd the. capacityiin which.cach
itch person cofitribnted. — Be

Bs itis your contention that any othier périon, business citity, dr goverhitint ditity
is responsible for Plaintiff's injuries, please state in, détail; tha Substatitiating facts-an which you
rely in making-this:contention. —e

3. If you contend that Plaintiff acted in ‘Such a manner as. to cause-on contribute-to the
Subject occurrence, or to the: injuries sustained. therefrom, please give a coiiipilete and full
statement of the: facts" upon which you rely and identify each and every person with personal
knowledge in support dfsuch contention,

4. — ‘Describerin detatt the location and contents of any signs.that you placed at, in, or,
near the subject pretiiisés, includitig but not limited to Waning signs, signs restticting a00CeSs, or.
Signs directing the flow of pedestrian traffic. ~
5. _ Jf you conterid. you ‘oF Your ‘agents Waried the Plaindit' Sf Ey dangerous,

*  Gbiiditidns asedeiated' With the subjéct premises, pleasé set forth all facts which support jours

iGontention.

. 6& Identify each and every person who was working oni thé day' of the dccurenée
performing any, maintenance, cleaning, and/or other manual’ labor at the subject premises,
iticdiding in your atiswer the biographical information associated with each person-as well as the
identity of their employer.

7 State Whether theré was any conversatién between the Piaintii? and any of your
dgents, employees, servants and contractors regarding this occurrence ati the ‘scene thereof,
immediately ‘before, ct any tine after the ovcurrence, and if $0, identify and set ‘forth fully, the
‘Substainée Of that conversaliGn; iiclpditie the, persons speaking, the person ‘poke +0, sid tig
names and addresses of other persous who were presént or in a position to overhear the same.

8. Identify edch Ferson having personel knowledge of the facts material to this case
including 'their relationship to: Defendant, if any.

94 ddedtity dny andl inirance of indécaniey agreements Gide? Which My petoon or
titty slight be Héblé to satiety part oF all of any judgment entared in whis case, ifiéluding policy.
li mits. ws ~ mw we . in .

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Case 1:19-cv-00403-AJF:IDD Document 1-1 Filed 04/05/19---Page 8 of 12 PagelD# 12

a ‘fo ° Ifyou Have withit yout coritiol phiojogtaphs, plats, diagrams of the scene, objects;
or persons connected with. the occurrence, and/or videotapes regarding any element 'of Plaintiff's:
claims, set forth 2 description of same and describe the coritents Of dny photographs, videotapes,
or the like, the dates creatéd, and the idéntity of the person or persons creating them:

_g Ji. Give aconcise statement of facts as to how you contend thie occurrence happenéd.

12. Identify‘any eyewitnesses to dll or partof the occurrence.”
13. - Give a concise description of the area in which you uriderstand to be the place

ee

where the Plaintiff fell at the time of the claiined injizy.
14. State whether there was eny report or communication made to you, your agents,

Servants, officers, or someone on their behalf, concerning the condition of thiis area of the subject .

premises at the time of the ocourrence.

15. Identify who was responsible for maintenance of this area of the subject premises
‘as of the: day of the obcutente, including in your response the fiictual basis, for such

16. Identify any policies, procedures, or regulations rélating to the ‘inspection,
maihfenance, repair and/or cleaning of the area of the subject premises.at issue:

17, «identify any. policies; procedures, or regulations relating z to' the cleaning of, ths
Spill'on the aisle Of tie subjéct prémises,

18, _ {State whether you; or Somecite of your behalf, received. written and/or ofal notice
of-the:time, place} arid canse of tlie-occurréncé, arid if so staté the daté of ing zeceipt’ the identity
of the’ person providing, the notice, the identity of the person receiving noti¢e,"and the’ complete
substance of said notice: 7 ,

19, ‘State whiat repairs, or changes in maintenance schedule or routine; have been
ordered and/or made by you} your agents and/r servants, following the Occurrendé, at thé plase
of the happening.of the same, specifying the date or dates, -

20. Identify all persons who investigated the cause and ‘circtinistatced Of the
occurrence on your behalf and State whether any perion identified herein provided’ you with 2
written report or summary of their findings and conclusions:

21. Identify the namé and: address of every expert that you intend! to call at teial aud?
Set forth each opinion that you anticipate the expert will provide and: attach :to your Answers,
copies of ali written reports.

22. State the name and address Of ait pérsn ‘who have given you signed ‘statements|
concerning:the occurrence and identify each statement.

23, ___ Attach to: your response or submitifor inspection the original or, ai exiict copy of

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any written instrument upon which a claiin or defense is founded.

4,
Case 1:19-cv-00403-AJT+IDD ‘Document 1-1 Filed 04/05/19--Page 9 of 12 PagelD# 13

written siatement signed or otherwise adopted or approved by thé Plaintiff, or a stenogrephic;
mechanical; electrical, or other recording or d transcription thereof, that is a substantially verbatim:
recital of an Oral statement made by the Plaintiff aid contemporaneously recorded. a

. 25. Identify ‘all etaployees that were employed at the subject premises at the time of the
occurrence, and for the ‘thirty (30) days before the’ occutrerics and ‘provide current and/or last
ikiiown address for each identified! employee. ~

tod

and/or contractors that were physically present at the subject premises on daly of the Gccurrence as
set forth in the Complaint.” " "eM

evan,

26. __ identify all employees (including management tevel employees), agents, servants, ,

_..., 2%: _dentify all persons aiid/or business entities that had an ownership interest in the,
subject premises as of the day of the occurrence. enema

28. Identify any property Management company for the subject premises as of the day
» of the occurrence. . be . nll areal manent ineanetietinedd

‘ei sed,
Victoria Grady,
By counsel,

Ftd wares oa

GOLDBERG & FINNEGAN, LLC

Daniel Canon, ES #73711

8401 Colesville Road, #630
Silver Spring, Maryland 20910
(301) 589-2999 (p)

(301) 589-2644 (£) |

Counsel for Plaintiff

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Case 1:19-cv-00403-AJT4BD Document 1-1 Filed 04/05/19 Rage 10 of 12 PagelD# 14

VIRGINIA:
IN TRE CIRCUIT COURT FOR ALEXANDRIA CITY
Victoria Grady *
Plaintiff, . °
v. \CASE:NO.: CL18003458
Target Stores tne. ‘
Defendant. om

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TO: Target Stores, Ine, ‘Defendant

(FROM: —-Vieiorid Grady, Planvitift’
c/o Curtis D. Cannon, Esq.

YOU ARE HEREBY REQUESTED, pitvunit i the Rites 6fh3 SOprate Coun SE Vile
{6 picducé the following docked at the Lely ORGS Of Goldberg. di Fithegit, G0 bad
Colesville Road, Suite 630, Silver Spring Maryland, 20910,

If the production of any.documents or tangible object(s) is objected 6, please state with
specificity the nature of the objection and deseribe with sufficient specificity'thé thitge tht af
being withheld such that,a judge, magistrate or other proper authority may determine whether .
such thing should be divulged fursiant to a motion to compel.

DO TO:PRODU

lL. “All thedical: records, _Siployment_ récords ‘or ‘other documents ‘obtained a by:
subpoena duces tecim or other discovery: request during the course of this litigations

2° All. medical, Fepons obtidined tas! a! part “Ff ftany independent ‘medical exam}
conducted by. you or 'yoiir agents; servants, or employees (incliding «1 any insurance company):

3. ‘A copy of any piatements; teports, or other documentatién: telating to ihe subject!
réccuitrence made ‘by you or your insurers, agetits, servants, or r employees i in n the ordinary ¢ course;
of business.

oe
Case 1:19-cv-00403-AJTIDD Document 1-1 Filed 04/05/19.~Page.11 of 12 PagelD# 15

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‘4! <A copy of any statements; reports,’ ot other docubieritation relating td:the subject
=. ets. nb peel SaaS ee lee kt ze . we ne
occurrence 4 party or his/her agents, servants or employees has made or given’ to -some person‘or
entity other than his/her attorney or insurer. we ee
5. _ ‘A copy Of any’ statamenis of any person Staiming i bea vines to ail or part:of
the 'stibject occirrence. If iyou: Will!not produce 2 copy. of said statement,“ pledse inchide a
espription of same with sufficient detail for a Court to rule tipaa any motion to comapél saan.
_..,. 5 “All photographs, slides, notion pictates, audiotapes, diaprams; maps, schefiiatics,
1afaphs, models; or otter illustrative representations pertaining 16 the parties, the instruientalities,
‘or physical objects involved," and the-scene of the incident, .

7, __ Aby videotapés or depidtiogs Of the Plaintiff that ard in:your. possession; including

+any surveillance videotapes or other visual depictions.
r 8. Any Fecorids which teflect the persons or bisinéss enitities. which owned “or were!
Otherwise resbonsible for the Subject premises at the time of the occurrence, —
9: Any contracts Jif effect’ as of the day .of ‘the, occitrrende for. the : inspection,

.

‘mainténance, repair, abd/or cleaning of the dred of the subject premises at issue.

10; Any manuals, policies, or regulations relating ro: the ‘inspéction, maiiténance,
‘repair and/or cleaning of the area-of the subject premises at issud,
3 . . a

‘lt, Ally documents, including work schedules, work otders, ting catds, py sti,

logs or inspection reports, which relate to-or would'show-any work and/or task performed by.any
employee, agent, or contractor relating (o the inspection, ‘maintenance, repair, and/or cleaniiig of '
the areaof the ‘subject premises at issué for sity (60) days up to and’ including the date-of the
subject occurrence. .

12, Any docuitiérits Wtiich yoii will atténipt to inttodiice ai trial:

"13, Any wfittén instrument. upon which a claim or defense is founded. .

‘14. All documents referred to'in your responses to Plaintiff's. lntérrofatoriss.

., 15. The curriculum vitae for any expert you have retained and/or intend to:call at: .
trial. .

_ 16. Any reports, correspondence, themoraridims, opinions; notes, worksheets, testi
date and conclusions of any expert witnesses that you have either contacted regarding this aie,
or that you Have reininéd and/or intend to cull as a witness at trial.

17. ‘Any documents provided to and/or relied upon by. any expert that you have either
contacted regardisig His case, or that you have.retained and/or intend to call as & witness at trial.

18, Any books, articles, journals, photographs, test results, notes, models ‘or any other

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~ tangible material electronically recordable materials created, or. utilized: in retidering an opinion

— vere te

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Case 1:19-cv-00403-AJT+BD Document 1-1 Filed 04/05/19 . Page 12 of 12 PagelD# 16

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in this matter, by any expert that you have either contacted regarding this cagé, Gr that you have
retained and/or intesid to call'as a witiess at trial. “

(19% A’ ony of any, policy of insurance, including Gut not'liimited to genéial Hability
insurance, and/or urnbrelle policies, whicti may provide coverage to any liability resulting from
this lawsuit. “Include it your tesponse to this request a copy of the dectarations page from each
applicable policy. m" ‘

Respeetfully submitted,

Victoria Grady, 3

By counsel, .
GOLDBERG & FINNEGAN, LLC

Curtis Daniel Carmon, Esq. #73711

8401 Colésville-Road, #630

Silver Spring} Maryland 20910

301) 589-2999 (p)

(301) 589-2644 (f "
’ Counsel for Plaintiff

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SERVED WITH SUMMONS AND COMPLAINT

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